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          IN THE COURT OF COMMON PLEAS OF FRANKLIN COUNTY, OHIO


Larry Hargis,                                :
                                             :               Case No. 17CV-05-4047
                         Plaintiff,          :
                                             :
       vs.                                   :               Judge Guy L. Reece II
                                             :
Cummins, Inc., et al.,                       :
                                             :
                         Defendants.         :

                  DEFENDANT CUMMINS, INC.’S NOTICE OF FILING
                      REMOVAL NOTICE IN FEDERAL COURT

       Defendant Cummins, Inc. (“Cummins”) hereby notifies the Court that it has filed a notice

removing this action to the United States District Court for the Southern District of Ohio, Eastern

Division. A copy of Cummins’ Notice of Removal is attached hereto as Exhibit 1. Pursuant to

28 U.S.C. § 1446(d), no further proceedings may be had in this action unless the removed action

is remanded.



                                                 Respectfully submitted,

                                                 /s/ Marc S. Blubaugh
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                                                 Kelly E. Mulrane (0088133)
                                                 Benesch, Friedlander, Coplan & Aronoff LLP
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                                                 Attorney for Defendant Cummins, Inc.




                                                                              EXHIBIT B
                                                 1
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2017, I electronically filed the following with the Clerk of

Court via the e-Filing system, which will send a notice of such filing to counsel of record for the

parties to this action. I further certify that a true copy of the foregoing was served by first-class

U.S. mail, postage prepaid, this 7th day of June, 2017, upon the following:


Ronald L. Burdge
Elizabeth Ahern Wells
2299 Miamisburg-Centerville Road
Dayton, Ohio 45459-3817

Daimler Trucks North America, LLC
c/o CT Corporation System, S/A
1300 East Ninth Street
Cleveland, Ohio 44114


                                                /s/ Marc S. Blubaugh




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